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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTER DISTRICT OF OKLAHOMA

1.   KENDRA RUSSELL,                          )
                                              )
                  Plaintiff,                  )
                                              )
     v.                                       )   CIV-17- 590-D
                                              )
1.   BILLINGSLEY FORD OF                      )   JURY TRIAL DEMANDED
     DUNCAN, LLC,                             )   ATTORNEY LIEN CLAIMED
                                              )
2.   BILLINGSLY FORD OF                       )
     DUNCAN, INC.,                            )
                                              )
3.   EXPRESS SERVICES, INC.,                  )
                                              )
                  Defendants.                 )

                                 COMPLAINT

     COMES NOW THE PLAINTIFF and hereby pleads her claims as follows:

                                   PARTIES

1.   The Plaintiff is Kendra Russell, an adult female resident of Grady County,

     Oklahoma.

2.   The Defendants are:

     A.     Billingsley Ford of Duncan, LLC, a domestic company doing business in

            Stephens County, Oklahoma;

     B.     Billingsley Ford of Duncan, Inc., a domestic company doing business in

            Stephens County, Oklahoma; and,

     C.     Express Services, Inc., a foreign company doing business in Stephens

            County, Oklahoma.
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                             JURISDICTION AND VENUE

3.   Plaintiff’s claims are for gender discrimination (including the creation of hostile

     working environment and retaliation after Plaintiff complained of discrimination)

     in violation of Title VII of the Civil Rights Act and Oklahoma’s Anti-

     Discrimination Act (OADA).

4.   Jurisdiction over the federal claims is vested in this Court under 28 U.S.C. § 1331,

     42 U.S.C. § 2000e-5(f), and 25 O.S. §§ 1101, et seq. The state law claims arise out

     of the same core of facts and jurisdiction over them is vested under 28 U.S.C. §

     1367(c).

5.   All of the actions complained of occurred in Stephens County, Oklahoma, and the

     Defendants may be served in that county. Stephens County is within the Western

     District of the United States District Court of Oklahoma, and venue is appropriate

     in this Court under 28 U.S.C. § 1391(b).

                                STATEMENT OF FACTS

6.   The Defendants, jointly and/or separately, employed at least fifteen employees for

     each working day in each of twenty or more calendar weeks in the current or

     preceding calendar year. Accordingly, the Defendants are covered employers under

     Title VII. There is no minimum employee requirement to be a covered employer

     under the OADA.

7.   Defendant Express Services, Inc. (“Express”), identifies itself as Plaintiff’s

     employer on her pay stubs and W-2 forms. Defendant Express is a temporary

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      employment agency that contracts with Defendants Billingsley Ford of Duncan,

      LLC and Billingsley Ford of Duncan, Inc., to provide employees such as the

      Plaintiff.

8.    Defendant Express placed the Plaintiff at the Billingsley Ford of Duncan, LLC

      location and Plaintiff worked for Billingsley Ford of Duncan, LLC, and was

      instructed on her day-to-day tasks and was supervised by employees of Billingsley

      Ford of Duncan, LLC.

9.    Defendant Billingsley Ford of Duncan, Inc., to Plaintiff’s current knowledge and

      belief, also employs the same employees as Billingsley Ford of Duncan, LLC, and

      is either an integrated enterprise with, or a successor in interest of, Billingsley Ford

      of Duncan, LLC.       The Billingsley Defendants will be hereinafter known as

      “Billingsley Ford”.

10.   For reasons including those set out in Paras. 7-9, above, Defendant Express is a joint

      employer with Defendants Billingsley Ford of Duncan, Inc. and Billingsley Ford of

      Duncan, LLC. Accordingly, all named Defendants are jointly and/or separately

      liable for the claims asserted herein.

11.   Around September 2015, Defendant Express assigned Plaintiff to work at Defendant

      Billingsley Ford of Duncan.




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12.      During her employment working at Billingsley Ford, the Plaintiff was subjected to

         a sexually hostile working environment by her supervisor, David Gammill1

         (Billingsley Ford Service Manager) including, but not limited to:

         A.     Mr. Gammill would tell Plaintiff to show him (Gammill) her breasts;

         B.     On a near daily basis Mr. Gammill would rub his body against the Plaintiff

                without her consent, including pressing his groin against the Plaintiff;

         C.     On a near daily basis Mr. Gammill made sexual jokes and comments to the

                Plaintiff, including comments about his penis, speculation as to the color of

                Plaintiff’s pubic hair, and speculation as to how Plaintiff performs sexually.

         D.     On a near daily basis Mr. Gammill would stare at the Plaintiff in an obvious

                and lascivious manner, telling the Plaintiff he “can’t stop looking” at her.

13.      The conduct discussed above was unwanted and both offensive to the Plaintiff and

         objectively offensive.

14.      Beginning around March 2016, Plaintiff complained of the sexual harassment to Jill

         (last name unknown) (Supervisor of Defendant Express). Also in March 2016,

         Plaintiff complained of the sexual harassment to the Defendants, including to Jim

         Kerr (Parts Manager for Billingsley Ford).

15.      Neither Defendants Express or Billingley Ford took action to stop the sexual

         harassment, which continued up until the Plaintiff was terminated.




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    Spelling is approximate and based on Plaintiff’s current knowledge and belief.
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16.   Plaintiff reported the sexually harassing conduct including making a complaint to

      Ken Harris (General Manager of Billingsley Ford) around April 13, 2016.

17.   Plaintiff was terminated from Billingsley Ford around April 15, 2016 by Kathy

      Stone (Accounting Supervisor for Billingsley Ford).

18.   During the termination meeting, Plaintiff asked for the reason she was being

      terminated. In response, Ms. Stone told Plaintiff she was instructed to terminate the

      Plaintiff by “upper management”. Other than this statement, no reason was given

      for Plaintiff’s termination.

19.   Defendant Express stopped assigning Plaintiff at places of employment, telling

      Plaintiff that there were no jobs available. However, Defendant continued to assign

      other employees to jobs for which the Plaintiff would have been qualified.

20.   As a direct result of Defendants’ conduct, the Plaintiff has suffered (and continues

      to suffer) wage loss (including back, present and front pay along with the value of

      benefits associated with such wages), and emotional distress/dignitary harm

      including worry, frustration, sadness, and similar unpleasant emotions.

21.   At the least, significant factors in the decision to terminate the Plaintiff was her

      gender and/or her complaints of gender discrimination.

22.   Defendant Express is liable because it failed to prevent Plaintiff from being

      subjected to a sexually hostile working environment at a work location at which it

      placed the Plaintiff, failed to prevent the discriminatory and retaliatory termination

      and further retaliated against the Plaintiff for complaining of discrimination by

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      refusing to place Plaintiff in other employment opportunities while giving those

      opportunities to persons who did not complain of sexual harassment.

23.   Plaintiff has exhausted her administrative remedies by timely filing EEOC charges

      of discrimination on May 2, 2016. The EEOC issued Plaintiff her right to sue letters

      on April 4, 2017 and Plaintiff received such letters thereafter. This complaint is

      timely filed within ninety (90) days of Plaintiffs’ receipt of her right to sue letters.

24.   Creation of a sexually hostile working environment, and retaliation against Plaintiff

      for complaining of sexually harassing conduct, violates Title VII and the OADA.

25.   Under Title VII and the OADA the Plaintiff is entitled to her wage loss (including

      back, present and front pay along with the value of benefits associated with such

      wages) and emotional distress/dignitary harm damages.

26.   Because the conduct of the Defendants was willful or, at the least, in reckless

      disregard of Plaintiff’s rights, Plaintiff is entitled to punitive damages under Title

      VII.

27.   Plaintiff is entitled to liquidated damages under the OADA without an additional

      showing of willfulness or recklessness.

28.   Plaintiff is also entitled to an award of attorney fees and costs.

                                         PRAYER

      WHEREFORE, Plaintiff requests this Court enter judgment in her favor and

against the Defendants and grant her all compensatory damages suffered together with all




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damages, liquidated damages, attorneys’ fees, costs and interest and such other legal and

equitable relief as this Court deems just and proper.

       RESPECTFULLY SUBMITTED THIS 25th DAY OF MAY, 2017.

                                          HAMMONS, GOWENS, HURST
                                          & ASSOCIATES


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